Case 2:15-cv-05193-ES-JAD Document 3-2 Filed 07/08/15 Page 1 of 2 PageID: 46




                             Exhibit A




                                     1


                                  ------·~
   Case 2:15-cv-05193-ES-JAD Document 3-2 Filed 07/08/15 Page 2 of 2 PageID: 47




        ~' ~usanna ~ojas, Oilerk of tlye ~ppellate Jfli&ision of tlye

~upreme <!Iourt of tlye ~tate of ~efu !ork, Jlfirst Jlu~idal

Jflepartment, rertify tlyat

                     ROY DEN HOLLANDER
fuas ~uly lirense~ an~ a.bmitte~ to pradire as an ~ttorney an~
<!Iounsellor at Ifiafu in all tlye rourts of tlye ~tate of ~efu !ork on
c!EJ.eamh.er 7, 1987, lyas    ~uly taken an~ suhsrrihe~ tlye oatly of of fire

presrrihe~      by lafu, lyas been enrolle~ in tlye -~oll ~of J\ttorneys an~
                                                      --~       .•   :1" •   ,   •• \         • •        •   •




<!Iounsellors at Ifiafu on file in my offir~t lyas ~u~y .regist¥_~e~ fuitly
                                                 ;

                                                      '     ~
                                                                                 .
                                                                                        ...
                                                                                                    .
                                                                                                     \
                                                                                                         .
tlye a.bministrati&e offire of tlye rourts, an.b arror~ing ·to tlye reror~s
of tlyis rourt is in    goo~ stan~ing    as an attorneu                              an~                         rounsellor at
lafu.

                          ~n ~itness ~lyereof, ~ lya&e lyereunto set my
                             lyan~ an~ affixe~       tlye 5e_a:_ti!~ ~~~purt on
                                                       -
                                          c!Beu~i_-Jll, ~91:4'·
                                                      _·...__                        -          .
                                                                                                                  ·. -
                                            ~·~~
         2732
